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 8                                UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

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11    VALENTIN ZUNIGA,                                  Case No. 2:20-cv-00619-GMN-BNW
12                        Petitioner,                   ORDER
13           v.
14    JEREMY BEAN, et al.,
15                        Respondents.
16

17          Petitioner has filed an unopposed motion to extend time to file a second amended petition

18   (first request) (ECF No. 25). The court finds that good cause exists to grant the motion.

19          IT THEREFORE IS ORDERED that petitioner's unopposed motion to extend time to file

20   a second amended petition (first request) (ECF No. 25) is GRANTED.

21          IT FURTHER IS ORDERED that the expert evaluation of petitioner be completed no later

22   than May 27, 2022.

23          IT FURTHER IS ORDERED that petitioner file a status report indicating whether he will

24   proceed on his first amended petition or will intend to file a second amended petition within 30

25   days of the completion of the expert evaluation.

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     Case 2:20-cv-00619-GMN-BNW Document 26 Filed 11/29/21 Page 2 of 2



 1           IT FURTHER IS ORDERED that petitioner file a second amended petition, if that will be

 2   his intent, within 60 days of the filing of the status report.

 3           DATED: December 29, 2021
 4                                                                    ______________________________
                                                                      GLORIA M. NAVARRO
 5                                                                    United States District Judge
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